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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTIAN DIOR COUTURE, S.A.,
                                                    Case No. 19-cv-04151
               Plaintiff,
                                                    Judge Robert M. Dow, Jr.
v.
                                                    Magistrate Judge Gabriel A. Fuentes
ZHANG ZHEN, et al.,

               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on August 30, 2019 [45], in favor

of Plaintiff Christian Dior Couture, S.A. (“Plaintiff” or “Dior”) and against the Defendants

Identified in Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting

Defendant for willful use of counterfeit Christian Dior Couture, S.A. in connection with the offer

for sale and/or sale of products through at least the Defendant Internet Stores, and Dior

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

             Defendant Name                                           Line No.
        ENJOININ BAGS Co., ltd. Store                                    61

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 12th day of September 2019.   Respectfully submitted,



                                         /s/ Allyson M. Martin__________________
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                                         Justin R. Gaudio
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